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                                  UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         EUGENE DIVISION




THE UNITED STATES OF AMERICA, ex                                  Case No.: 6:14-cv-01424-MC
rel. MICHAEL T. BROOKS,
                                                     DECLARATION OF RACHEL C. LEE
                       Relator,                         IN SUPPORT OF DEFENDANTS’
                                                       MOTION FOR ORDER TO SHOW
         v.                                            CAUSE WHY RELATOR SHOULD
                                                          NOT BE ADJUDGED IN CIVIL
TRILLIUM COMMUNITY HEALTH                                               CONTEMPT
PLAN, INC., AGATE RESOURCES, INC.,
and LANE INDIVIDUAL PRACTICE
ASSOCIATION, INC.,

                       Defendants.


         I, Rachel C. Lee, declare as follows:

        1.         I am counsel of record for Agate Resources, Inc. (“Agate”) in Michael T. Brooks

v. Agate Resources, Inc., Ninth Circuit Case No. 19-35547 and Supreme Court Case No. 20-

8177. I make this declaration in support of Defendants’ Motion for Order to Show Cause Why

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Relator Should Not Be Adjudged in Civil Contempt. I have personal knowledge of the facts

stated in this declaration.

        2.         On or about March 29, 2021, Michael T. Brooks filed a petition for a writ of

certiorari from the Ninth Circuit’s decision in Michael T. Brooks v. Agate Resources, Inc., Ninth

Circuit Case No. 19-35547. The Supreme Court assigned Supreme Court Case No. 20-8177 to

that petition.

        3.         To my knowledge, and based on the Supreme Court docket, Mr. Brooks made no

attempt to file his petition for writ of certiorari in Supreme Court Case No. 20-8177 under seal.

        4.         Attached hereto as Exhibit 1 is a true and correct copy, with pertinent portions

highlighted, of a motion to seal filed by Agate on April 19, 2021 in Supreme Court Case No. 20-

8177.

        5.         Attached hereto as Exhibit 2 is a true and correct copy, with pertinent portions

highlighted, of a redacted version of Mr. Brooks’ petition for writ of certiorari in Supreme Court

Case No. 20-8177, which is also available at https://www.supremecourt.gov/DocketPDF/20/20-

8177/180308/20210527114759198_20210527-114235-95753808-00002188.pdf.

        6.         On or about April 27, 2021, Mr. Brooks opposed the motion to seal that Agate

had filed in Supreme Court Case No. 20-8177. Attached hereto as Exhibit 3 is a true and correct

copy, with pertinent portions highlighted and redactions and the notation “REDACTED” added

by Agate, of the opposition filed by Mr. Brooks. His opposition to the motion to seal repeated

some of the exact same confidential medical information that Agate had moved to seal and

disclosed further detail about one individual.




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        7.         On June 1, 2021, the Supreme Court granted Agate’s motion to seal Mr. Brooks’

petition for certiorari and his opposition to the motion to seal in Supreme Court Case No. 20-

8177.

        8.         On or about May 28, 2021, Mr. Brooks filed a petition for writ of certiorari from

the Ninth Circuit’s decision in Michael T. Brooks v. Department of Labor, Administrative Review

Board, Ninth Circuit Case No. 19-71240. The Supreme Court assigned Supreme Court Case

No. 20-8413 to that petition. Attached hereto as Exhibit 4 is a true and correct copy, with

redactions and the notation “REDACTED” added by Agate, of the petition for writ of certiorari

in Supreme Court Case No. 20-8413.

        9.         Mr. Brooks filed publicly his petition for writ of certiorari in Supreme Court Case

No. 20-8413.

        10.        Mr. Brooks’ petition for writ of certiorari in Supreme Court Case No. 20-8413

contained some of the same medical information about two of the students that he had previously

included in his petition in Supreme Court Case No. 20-8177 and also added new information.

One student was described again by nationality, family of origin, gender, and the reproductive

health services that the student obtained. Another student was described again by nationality,

gender, student status, medical condition and, for the first time, Mr. Brooks disclosed a specific

form of treatment that this student received. The petition in Supreme Court Case No. 20-8413

also added new disclosures about other students of specified nationality or ethnicity who tested

positive or received treatment for other stigmatizing medical conditions.

        11.        Because the Supreme Court does not deem Agate to be a party to Supreme Court

Case No. 20-8413, Agate is unable to move to seal that petition for writ of certiorari. However, I




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have been in communication with the U.S. Solicitor General’s Office about whether the U.S.

Department of Labor is willing to do so.

         I hereby declare under penalty of perjury that the foregoing is true and correct.

          DATED: August 10, 2021.

                                               /s/ Rachel C. Lee
                                               Rachel C. Lee




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                                CERTIFICATE OF SERVICE

         I hereby certify that I served the foregoing DECLARATION OF RACHEL C. LEE IN

SUPPORT OF DEFENDANTS’ MOTION FOR ORDER TO SHOW CAUSE WHY

RELATOR SHOULD NOT BE ADJUDGED IN CONTEMPT on the following named

person(s) on the date indicated below by:

          mailing with postage prepaid

          overnight delivery

          email

          notice of electronic filing using the CM/ECF system

to said person(s) a true copy thereof, contained in a sealed envelope, addressed to said person(s)

at his or her last-known address(es) indicated below.

         Michael T. Brooks
         32713 Vintage Way
         Coburg, OR 97408
         Tel: 541-556-6130
         Email: mibrooks@mac.com

         Plaintiff Pro Se


         DATED: August 10, 2021.

                                             STOEL RIVES LLP

                                             /s/ Reilley D. Keating
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                                             Of Attorneys for Defendants




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